         Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     -   -   -    X
                                                                           SUPERSEDING INDICTMENT
 UNITED STATES OF AMERICA
                                                                           S3 19 Cr . 725 (JPO )
               -    V .    -


 LEV PARNAS and
 ANDREY KUKUSHKIN ,

                           Defendants .


                                                  - - - - -x

                               COUNT ONE
        (Conspiracy to Make Contributions by a Foreign National)

              The Grand Jury charges :

              1.          From in or about June 2018 through at least in or

about    April       2019 ,       in        the    Southern           District    of   New    York    and

elsewhere ,    LEV PARNAS and ANDREY KUKUSHKIN ,                                the defendants ,      and

others known and unknown , knowingly conspired with each other and

with others known and unknown to :

                          a.      Knowingly and willfully make contributions and

donations     of      money ,          or     express        or       implied    promises      to    make

contributions or donations , directly and indirectly , by a foreign

national      in      connection              with       federal          and     State      elections ,

aggregating to $25 , 000 and more in a calendar year ,                                    in violation

of Title 52 , United States Code , Sections 30121 and 30109(d) (1) (A) .

                          b.      Knowingly and willfully make contributions to

candidates         for         State    and        federal        office ,       joint     fundraising
,,            Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 2 of 9




     committees , and independent expenditure committees in the names of

     other persons , aggregating to $25,000 and more in a calendar year ,

     in violation of Title 52 ,                 United States Code ,            Sections 30122 and

     30109(d) (1) (A)     &    (D)

                          c.         Knowingly        defraud      the        United      States       by

     impairing ,    obstructing ,          and defeating the            lawful functi o ns of a

     department or agency of the United States ; to wit , the function of

     the Federal Election Commission ("FEC" ) to administer federal law

     concerning     source       and amount          restrictions        in     federal      and State

     elections ,     including            the    prohibitions       applicable            to      foreign

     nationals and straw donors.

                   2.     In furtherance of the conspiracy and to effect its

     illegal objects , LEV PARNAS and ANDREY KUKUSHKIN , the defendants ,

     and others known and unknown , commi tted the following overt acts ,

     among others , in the Southern District of New York and elsewhere :

                          a.         On    or   about       September    18 ,    2018 ,      a    foreign

     national      Russian      citizen and          businessman        who ,     at   all       relevant

     times , was not a citizen or lawful permanent resident of the United

     States    ("Foreign National - 1") wired $500 , 000 from a foreign bank

     account ,     through the            Southern    District of New York ,               to a      bank

     account under the control of Igor Fruman , who was a co - conspirator

     of   PARNAS    and   KUKUSHKIN ,           among others ,      f or purposes            of making

     political contributions and donations.


                                                        2
,,            Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 3 of 9




                            b.   On      or       about    October        16 ,    2018 ,       Foreign

     National - 1 wired $500 , 000 from a foreign bank account , through the

     Southern District of New York , to a bank account under the control

     of Igor Fruman , for purposes of making political contributions and

     donations .

                            c.   On     or     about      November   1,      2018 ,         PARNAS   and

     Fruman   used      funds    wired       by   Foreign    National - 1        to    make maximum

     donations to two political candidates for State office in Nevada.

       (T i tle 18 , United States Code , Section 371 , and Title 52 , United
         States Code , Sections 30121 , 30122 and 30109 (d) (1) (A) & (D))


                                   COUNT TWO
             (Solicitation of a Contribution by a Foreign National)

                   The Grand Jury further charges :

                   3.       From in or about June 2018 through at least in or

     about    April     2019 ,   in     the       Southern    District       of       New    York    and

     elsewhere ,      LEV    PARNAS ,    the      defendant ,     knowingly           and    wil l fully

     solicited ,    and aided and abetted the solicitation of ,                              a foreign

     national ,    directly       and    indirectly ,        to   make      contributions            and

     donations of money , and made express and implied promises to make

     contributions and donations , in connection with federal and State

     elections , aggregating $25 , 000 and more in a calendar year .

              (Title 52 , United States Code , Sections 30121 and
       30109 (d) (1) (A) , and Title 18 , United States Code , Section 2)




                                                     3
,,            Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 4 of 9




                                    COUNT THREE
                   (Making a Contribution by a Foreign National)

                   The Grand Jury further charges :

                   4.         From in or about June 2018 through at least in or

     about     April     2019 ,    in    the     Southern      District    of   New    York    and

     elsewhere ,        LEV    PARNAS     and    ANDREY     KUKUSHKIN ,     the   defendants ,

     knowingly      and        willfully        aided   and      abetted    the       making    of

     contributions and donations of money ,                    and the making of express

     and implied promises to make contributions and donations , directly

     and indirectly , by a foreign national in connection with federal

     and State elections ,             aggregating $25 , 000 and more in a calendar

     year .

               (Title 52 , United States Code , Sections 30121 and
        30109 (d) (1) (A) , and Title 18 , United States Code , Section 2)


                                 COUNT FOUR
          (Conspiracy to Make Contributions in the Name of Another)

                   The Grand Jury further charges :

                   5.         From in or about March 2018 through at least in or

     about    November        2018 ,    in the    Southern      District   of New      York and

     elsewhere ,    LEV       PARNAS ,    the    defendant ,    knowingly conspired with

     others known and unknown to :

                                a . Knowingly and willfully make contributions to

     candidates for federal office ,                joint fundraising committees , and

     independent expenditure committees in the names of other persons ,

                                                    4
{ t              Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 5 of 9




      aggregating to $25 , 000 and more in a calendar year , in violation

      of Title 52 , United States Code , Sections 30122 and 30109 (d) (1) (A)

      &   (D).

                                  b . Knowingly      defraud      the     United        States     by

      impairing ,       obstructing ,        and defeating the lawful functions of a

      department        or    agency    of    the   United    States ;    to    wit ,   the    FEC ' s

      function to administer federal law concerning source and amount

      restrictions           in   federal     elections ,     including        the   prohibitions

      applicable to straw donors .

                       6.     In furtherance of the conspiracy and to effect the

      illegal objects thereof ,               LEV PARNAS ,     the defendant ,          and others

      known      and    unknown ,     committed      the    following     overt      acts ,    among

      others , in the Southern District of New York and elsewhere :

                              a . In or about May 2018 ,          Igor Fruman ,         and others

      known and unknown , obtained a private loan , the proceeds of which

      were used to fund a $325 , 000 contribution made by PARNAS to a joint

      fundraising            committee        ( " Committee-1 " ) .     PARNAS       caused       the

      contribution to Committee - 1 to be falsely reported in the name of

      " Global Energy Producers . "

                              b . In or about June 2018 ,             PARNAS made an $11 , 000

      contribution           to   a   joint    fundraising      committee        ( "Commi ttee - 2 " )

      using funds that belonged to Fruman and another indiv i dual .




                                                      5
       Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 6 of 9




                  c . In or about       June 2018 ,     PARNAS used a business

credit card registered to a credit card account belonging to Fruman

and   another     individual     in     order   to    make      a    maximum   $2 , 700

contribution to the re - election campaign of a then - sitting U.S .

Congressman (" Congressman - 1 " ) .

 (Title 18 , United States Code , Section 371 , and Title 52 , United
       States Code , Sections 30122 and 30109 (d) (1) (A) & (D))


                             COUNT FIVE
       (False Statements to the Federal Election Commission)

             The Grand Jury further charges :

             7.   In or about October 2018 , in the Southern District

of New York and elsewhere ,           LEV PARNAS ,    the defendant ,       willfully

and   knowingly     did   make        materially      false ,       fictitious ,    and

fraudulent statements and representations in a matter within the

jurisdiction of     the   executive       branch of     the     Government     of   the

United States , to wit , PARNAS made materially false statements in

an affidavit submitted to the FEC that " a $325 , 000 contribution to

[Committee - 1]       . was made with [Global Energy Producers] funds

for [Global Energy Producers] purposes ," and that "[Global Energy

Producers]    is a real business enterprise funded with substantial

bo n a fide capital investment ; its major purpose is energy trading ,

not political activity "; and that a contribution made by PARNAS on

or abo u t June 25 , 2018 to Congressman - l ' s campaign for reelection



                                          6
..            Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 7 of 9




     "was    made    with      a    business    credit   card               which    [ PARNAS]

     reimbursed ."

             (Title 18 , United States Code , Sections 1001 (a) (2) and 2)


                                             COUNT SIX
                                    (Falsification of Records)

                    The Grand Jury further charges :

                    8.      In or about October 2018 , in the Southern District

     of New York and elsewhere ,               LEV PARNAS ,   the defendant ,       willfully

     and knowingly did falsify and make a false entry in a record and

     document with the intent to impede ,                 obstruct ,      or influence the

     investigation        or       proper   administration      of   a   matter   within   the

     jurisdiction of any department or agency of the United States , and

     in relation to and in contemplation of any such matter ,                        to wit ,

     PARNAS made materially false statements in an affidavit submitted

     to the FEC , including that " a $325 , 000 contribution to [Committee -

     2]        . was made with [Global Energy Producers] funds for [Global

     Energy Producers]             purposes ," and that "[Global Energy Produ c ers]

     is a real business enterprise funded with substantial bona fide

     capital     investment ;         its   major   purpose     is   energy   trading ,    not

     political activity "; and that a contribution made by PARNAS on or

     about    June 25 ,      2018     to Congressman-1 ' s      campaign for      reelection

     " was   made    with      a    business    credit   card               which    [ PARNAS]

     reimbursed ," with the intent to impede , obstruct , or influence the


                                                    7
..         Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 8 of 9




     investigation and proper administration of a matter within the

     jurisdiction of the FEC .

               (Title 18 , United States Code , Sections 1519 and 2)




                                            United       es Attorney




                                        8
Case 1:19-cr-00725-JPO Document 207 Filed 08/26/21 Page 9 of 9




              UNITED STATES DISTRICT COURT
             SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                           -   V .   -


                      LEV PARNAS and
                    ANDREY KUKUSHKIN ,

                        Defendants .


                 SUPERSEDING INDICTMENT

                   S3 19 Cr . 725        (JPO)


             Title 18 , United States Code ,
          Sections 371 , 1001 (a) (2) , 1519 , and
          2 and Title 52 , United States Code ,
               Sections 30121 , 30122 and
                 30109(d) (1) (A) & (D)).

                                 AUDREY STRAUSS
                         United States Attorney


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